             23-02573-JAW Dkt 44 Filed 11/14/23 Entered 11/14/23 15:56:01 Page 1 of 2


Form hn002jaw (Rev. 07/21)
                                             UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF MISSISSIPPI


IN RE:
          Livingston Township Fund One, LLC                                               CASE NO. 23−02573−JAW
                  DEBTOR.                                                                               CHAPTER 11


                                             NOTICE OF HEARING AND DEADLINES

       BOM a/k/a Bank of Montgomery has filed a Motion for Determination that Livingston Township Fund One,
LLC is a Single Asset Real Estate Debtor (the "Motion") (Dkt. #37) with the Court in the above−styled case.

       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you might wish to consult
one.)

       The Court will hold an evidentiary hearing (the "Hearing") on December 5, 2023, at 10:00 AM in the Thad
Cochran United States Courthouse, Bankruptcy Courtroom 4C, 501 East Court Street, Jackson, Mississippi, to
consider and act upon the Motion.

        If you do not want the Court to grant the Motion, or if you want the Court to consider your views on the
Motion, you or your attorney must file a written response explaining your position so that the Court receives it on or
before December 1, 2023 (Response Due Date). Please note that a corporation, partnership, trust, or other business
entity, other than a sole proprietorship, may appear and act in Bankruptcy Court only through a licensed attorney.
Attorneys and Registered Users of the Electronic Case Filing (ECF) system should file any response using ECF.
Others should file any response at U.S. Bankruptcy Court, Thad Cochran U.S. Courthouse, 501 East Court Street,
Suite 2.300, Jackson, MS 39201. If you file a response, you or your attorney are required to attend the Hearing. The
Hearing will be electronically recorded by the Court.

       If you or your attorney do not take these steps, the Court may decide that you do not oppose the Motion. If no
response is filed, the Court may consider the Motion and enter an order granting relief before the Hearing date.


          Dated: 11/14/23                                              Danny L. Miller, Clerk of Court
                                                                       U.S. Bankruptcy Court
                                                                       Thad Cochran U.S. Courthouse
                                                                       501 E. Court Street
                                                                       Suite 2.300
                                                                       Jackson, MS 39201
                                                                       601−608−4600
Courtroom Deputy
601−608−4642 (use to advise of settlement)
601−608−4693
         23-02573-JAW Dkt 44 Filed 11/14/23 Entered 11/14/23 15:56:01 Page 2 of 2




Parties Noticed:

All Parties and Creditors Listed on the Court's Mailing Matrix
